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 1   PETER C. ANDERSON
     UNITED STATES TRUSTEE
 2   ABRAM S. FEUERSTEIN, SBN 133775
     ASSISTANT UNITED STATES TRUSTEE
 3   CAMERON RIDLEY, SBN 324514
     TRIAL ATTORNEY
 4   UNITED STATES DEPARTMENT OF JUSTICE
     OFFICE OF THE UNITED STATES TRUSTEE
 5   3801 University Avenue, Suite 720
     Riverside, CA 92501-3200
 6   Telephone:    (951) 276-6354
     Facsimile:    (951) 276-6973
 7   Email:        Cameron.Ridley@usdoj.gov
 8
 9
                          UNITED STATES BANKRUPTCY COURT
10
                             CENTRAL DISTRICT OF CALIFORNIA
11
                                    RIVERSIDE DIVISION
12
13   In re:                                        Case No. 6:18-bk-18036-SY

14                                                 Chapter 7
     MCKENNA GENERAL ENGINEERING,
     INC.,                                         STIPULATION RESOLVING UNITED
15
                                                   STATES TRUSTEE’S POTENTIAL
16                     Debtor.                     OBJECTIONS TO: (1) SECOND AND
                                                   FINAL APPLICATION FOR
17                                                 ALLOWANCE OF FEES AND COSTS
                                                   FILED BY MARSHACK HAYS LLP AS
18                                                 GENERAL COUNSEL; (2) SECOND
                                                   AND FINAL FEE APPLICATION OF
                                                   HAHN FIFE & COMPANY LLP FOR
19                                                 ALLOWANCE OF FEES & EXPENSES
                                                   FROM APRIL 2, 2020 THROUGH
20                                                 OCTOBER 5, 2023; AND, (3)
                                                   CHAPTER 7 TRUSTEE’S FINAL
21                                                 REPORT
22                                                 [No Hearing Required]
23
24
              TO THE HONORABLE SCOTT H. YUN, UNITED STATES BANKRUPTCY
25
     COURT JUDGE, THE TRUSTEE, THE TRUSTEE’S COUNSEL, THE TRUSTEE’S
26
     ACCOUNTANT AND ALL PARTIES IN INTEREST:
27
28



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 1            This stipulation (“Stipulation”) is entered into by Peter C. Anderson, the United States
 2   Trustee for the Central District of California, Region 16 (“U.S. Trustee”), and the Chapter 7
 3   Trustee, Robert Whitmore (“Trustee”), the Trustee’s general counsel, Marshack Hays Wood LLP
 4   (“Counsel”), and the Trustee’s accountant, Hahn Fife & Company LLP (“Accountant”)
 5   (collectively, the “Parties”).
 6                                                RECITALS
 7            A.       McKenna General Engineering, Inc. (“Debtor”) filed a voluntary Chapter 7 petition
 8   on September 21, 2018 (“Bankruptcy Case”). Robert Whitmore is the duly-appointed Chapter 7
 9   Trustee.
10            B.     The Trustee filed an application to employ Counsel on January 31, 2019 (“Counsel’s
11   Employment Application”). On February 21, 2019, the Court entered an order approving Counsel’s
12   Employment Application.
13            C.     The Trustee filed an application to employ Accountant on February 22, 2019
14   (“Accountant’s Employment Application”). On March 26, 2019, the Court entered an order
15   approving Accountant’s Employment Application.
16            D.     The Trustee’s Counsel and Accountant sought approval of interim compensation. On
17   May 1, 2020, the Court entered orders allowing interim fees for Accountant of $34,042 in fees and
18   $487.70 in costs (Dkt. No. 146), and for Counsel of $201,199.30 in fees and $8,189.71 in costs
19   (Dkt. No. 147).
20            E.     On October 2, 2023, Trustee’s Counsel filed its Second and Final Application for
21   Allowance of Fees and Costs Filed by Marshack Hays LLP as General Counsel, Dkt. No. 197,
22   seeking allowance of $66,822 in fees and $1,607.51 in costs for the period of April 1, 2020 through
23   October 2, 2023.
24            F.     On October 12, 2023, the Trustee’s Accountant filed its Second and Final Fee
25   Application of Hahn Fife & Company LLP for Allowance of Fees & Expenses from April 2, 2020
26   Through October 5, 2023, Dkt. No. 198, seeking allowance of $5,441 in fees and $524.50 in costs.
27            G.     The Trustee submitted the trustee’s final report to the U.S. Trustee (“Proposed
28   TFR”).



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 1          H.      The U.S. Trustee raised concern with the distributions to unsecured creditors
 2   outlined in the Proposed TFR in part given an earlier statement in a compromise agreement stating
 3   that $125,000 in unencumbered funds would be generated for unsecured creditors (“Potential
 4   Objection”).
 5          I.      The Trustee, Counsel, and the Accountant contend that under the factual
 6   circumstances of this case significant actions were taken to maximize the benefit to unsecured
 7   creditors and administrative fees were reasonable.
 8          J.      The Parties have met and conferred and, to avoid the costs and uncertainties
 9   associated with litigation, have agreed to resolve the Potential Objection.
10          NOW, THEREFORE, the Parties stipulate as follows:
11          1.      The Parties agree that except as stated and voluntarily reduced herein, and subject to
12   Court approval, the administrative expenses requested by the Trustee, Counsel, and the Accountant
13   shall be allowed pursuant to 11 U.S.C. § 330 on a final basis.
14          2.      Provided such fees are otherwise allowed on a final basis, the Trustee, Counsel and
15   Accountant shall reduce their respective requests for payment of fees by an aggregate amount of
16   $48,095.24 (“Reductions”), as follows to allow for approximately a 3% distribution to general
17   unsecured creditors:
18          a.      Trustee shall reduce the amount of fees requested to be paid in the Proposed TFR by
19                  $5,356.34 (“Trustee’s Reduction”). Subject to Court approval, and after taking the
20                  Trustee’s Reduction into account, Trustee shall be entitled to payment of $29,691.97
21                  in fees and $156.96 in costs.
22          b.      Counsel shall reduce the amount of fees requested to be paid in the Proposed TFR by
23                  $36,704.81 (“Counsel’s Reduction”).1 Subject to Court approval, and after taking
24                  Counsel’s Reduction into account, Counsel shall be entitled to payment of
25                  $168,123.91 in fees and $1,607.51 in costs.
26
     1
            Counsel’s Reduction is in addition to the voluntary reduction of total fees from $268,021.30
27   to $240,171.48. Counsel has received interim fee payments of $35,342.76 leaving an outstanding
28   request for payment of fees of $204,828.72. This Stipulation further reduces such request for
     payment to $168,123.91 in fees.



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 1          c.      Accountant shall reduce the amount of fees requested to be paid in the Proposed
 2                  TFR by $6,034.09 (“Accountant’s Reduction”). Subject to Court approval, and after
 3                  taking the Accountant’s Reduction into account, Accountant shall be entitled to
 4                  payment of $27,469.08 in fees and $524.50 in costs.2
 5          3.      The Parties will bear their own fees and costs associated with the negotiation and
 6   preparation of this Stipulation.
 7
     Dated: July_26_, 2024                                  PETER C. ANDERSON
 8
                                                            UNITED STATES TRUSTEE
 9
10                                                          By: ____/s/ Cameron Ridley_________
                                                               Cameron Ridley
11
                                                               Trial Attorney
12
     Dated: July ____, 2024                                 CHAPTER 7 TRUSTEE
13
14
                                                            By: ____________________________
15                                                             Robert Whitmore
                                                               Chapter 7 Trustee
16
17
     Dated: July ____, 2024                                 MARSHACK HAYS WOOD LLP
18
19                                                          By: ____________________________
                                                               Tinho Mang (so authorized)
20
                                                               Attorneys for Robert Whitmore
21                                                             Chapter 7 Trustee

22   Dated: July ____, 2024                                 HAHN FIFE & COMPANY
23
24                                                          By: ____________________________
                                                               Donald T. Fife
25                                                             Accountants for Robert Whitmore
                                                               Chapter 7 Trustee
26
27   2
            Accountant has received interim fee payments of $5,979.83 leaving an outstanding request
28   for payment of fees of $33,503.17. This Stipulation further reduces such request for payment to
     $27,469.08 in fees.



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     1               c.      Accountant shall reduce the amount of fees requested to be paid in the Proposed
 2                          TFR by 56,034.09 (“Accountant’s Reduction”). Subject to Court approval, and after
 3                          lading the Accountant’s Reduction Into account. Accountant shall be entitled to
 4                          payinent of 527,469.08 In fees an'd 5524.50 In costs.2
 5                   3      The Parties will bear their own fees and costs associated with the negotiation and

             preparation of this Stipulation.
 7


 8
             Dated: July      ٠, 2024                               PETER c. ANDERSON
                                                                    EDITED STATES TRCSTEE
 9

10                                                                  By:
11
                                                                          Cameron Ridley
                                                                          Trial Attorney
12
             Dated: July^^, 2024                                    CHAPTER 7 TRUSTEE
13


                                                                    By: ‫ك‬-
14                                                                                                      .-r


15                                                                        Robert WhiUnore
                                                                          Chapter 7 TrtJSlee
16

17
         Dated:                                                     MARSHACR                   ID LLP
18

19
                                                                    By:
20
                                                                           'inho Mang (so aut-d)
                                                                           4iomevsi»-RT55erÏ Whitmore
21                                                                        Chapter 7 Tmstee

22
         Dated: July          , 2024                                HAHN FIFE & COMPANY

23

24                                                                  By:
                                                                          Donald T. Fife
25                                                                        Accountants for Robert Whitmore

26
                                                                          Chapter 7 Tmstee

27       2
                Accountant has received interim fee payments of 55,979.83 leaving an outstanding request
28       for payment of fees of 533,503.17. This Stipulation ftrrther reduces such request for payment to
         527,469.08 in fees.



                                                              .4.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
    Office of the U.S. Trustee, 3801 University, Suite 720, Riverside, CA 92501

                                                                      Stipulation Resolving United States Trustee's
A true and correct copy of the foregoing document entitled (specify): __________________________________________
 Potential Ojbections To (1) Second and Final Applciation for Allowance of Fees and Costs Filed By Marshack Hays LLP
________________________________________________________________________________________________
________________________________________________________________________________________________
 As General Counsel: (2) Second and Final Fee Application of Hahn Fife & Company LLP For Allowance Of Fees &
________________________________________________________________________________________________
 Expenses From April 2, 20202 Throught October 5, 2023, and (3) Chapter 7 Trustee's Final Report
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
_______________,
07/26/2024          I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:
 See attached electronic mail notice list




                                                                                       ✔ Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) _______________,
              07/26/2024        I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
Debtor: McKenna General Engineering, Inc., 20330 Temescal Canyon Rd., Corona, CA 92881




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
                                                                                                  07/26/2024
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________,     I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.
 Hon. Scott H. Yun, United States Bankruptcy Judge (Via Overnight Mail Attn. Judges' Copies)
 United States Bankruptcy Court
3420 Twelfth Street, Suite 345/Courtroom 302
Riverside, CA 92501
                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

07/26/2024         Mary H. Avalos                                                              /s/ Mary H. Avalos
 Date                       Printed Name                                                        Signature



            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
             Case
7/26/24, 11:54 AM 6:18-bk-18036-SY                 Doc 201 CM/ECF
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                                                    Main Document           Page 8 of 8
 Mailing Information for Case 6:18-bk-18036-SY
 Electronic Mail Notice List
 The following is the list of parties who are currently on the list to receive email notice/service for this case.

        Ryan W Beall rbeall@go2.law, kadele@go2.law;dfitzgerald@go2.law;rbeall@ecf.courtdrive.com;cmeeker@go2.law
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        Marija K Decker decker@luch.com, caroberts@luch.com,kimberley@luch.com
        Caroline Djang cdjang@buchalter.com, docket@buchalter.com;lverstegen@buchalter.com
        Jeremy Faith Jeremy@MarguliesFaithlaw.com, Angela@MarguliesFaithlaw.com;Vicky@MarguliesFaithlaw.com
        Marc C Forsythe mforsythe@goeforlaw.com,
        mforsythe@goeforlaw.com;dcyrankowski@goeforlaw.com;Forsythe.MarcR136526@notify.bestcase.com
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        chaes@ecf.courtdrive.com;cmendoza@ecf.courtdrive.com;cmendoza@marshackhays.com;alinares@ecf.courtdrive.com
        D Edward Hays ehays@marshackhays.com,
        ehays@ecf.courtdrive.com;alinares@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.com
        Kenneth Hennesay khennesay@allenmatkins.com, ncampos@allenmatkins.com
        Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
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        Holly J Nolan holly@sglwlaw.com, missy@sglwlaw.com
        Scott H Noskin snoskin@mbnlawyers.com, aacosta@mbnlawyers.com
        Raymond A Policar policarlaw@att.net
        Valerie J Schratz vschratz@hallgriffin.com, epaulino@hallgriffin.com;smacknight@hallgriffin.com
        Richard A Solomon richard@sgswlaw.com
        Michael G Spector mgspector@aol.com, mgslawoffice@aol.com
        Meghann A Triplett Meghann@MarguliesFaithlaw.com,
        Angela@MarguliesFaithlaw.com;Vicky@MarguliesFaithlaw.com
        United States Trustee (RS) ustpregion16.rs.ecf@usdoj.gov
        Robert Whitmore (TR) rswtrustee@yahoo.com, rwhitmore@ecf.axosfs.com

 Manual Notice List
 The following is the list of parties who are not on the list to receive email notice/service for this case (who therefore require
 manual noticing/service). You may wish to use your mouse to select and copy this list into your word processing program in
 order to create notices or labels for these recipients.

        Hahn Fife & Company
        790 E Colorado Blvd 9th Fl
        Pasadena, CA 91101

 Creditor List
 Click the link above to produce a complete list of creditors only.

 List of Creditors
 Click on the link above to produce a list of all creditors and all parties in the case. User may sort in columns or raw data
 format.




https://ecf.cacb.uscourts.gov/cgi-bin/MailList.pl?227778363655193-L_1_0-1                                                            1/1
